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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- x
                                               :
TERENCE J. POLETTI, LEONARD COSTA,             :
CHRISTOPHER J. CHAPMAN, STEVEN NIEVES,         :
JOSEPH DISTASI, ARTHUR COMBS, MICHAEL          :
ASHTON, LEONARD CARLO, KIRK RODRIGUEZ, :
STEVEN WEIDLER, MIGUEL MIELES, ROBERT          :
ELISEO, VINCENT CARRIERI, ABRAHAN              :
ROSARIO, MATTHEW DUNDIE, N. WILLIAM            :
GOOD, JEFFREY GOOD, NICK PURCELL, ANGEL :
LOPEZ, GERARD AMITRANO, STEPHEN MARTIN, :
THOMAS CAPRIOLA, GEORGE MURN, THOMAS :
LEGOTTE, TERRENCE CARR, TERRENCE CARR :
II, and MERYL WALDER AS THE EXECUTOR OF :
THE ESTATE OF ALAN WALDER, on behalf of        :
themselves and all others similarly situated,  : 1:21-cv-07603-VSB
                                               :
                                   Plaintiffs,
                                               :
                                               :
- against -
                                               :
                                               :
PEPSI-COLA BOTTLING COMPANY OF
NEW YORK, INC., REGINALD GOINS, WILLIAM :
                                               :
W. WILSON, HAROLD HONICKMAN, JEFFREY
                                               :
HONICKMAN, JOSEPH KLINGLER, SCOTT
                                               :
ALLMERS, and JOSEPH HAYES,
                                               :
                                               :
                                   Defendants. :
--------------------------------------- X


                      MEMORANDUM OF LAW IN OPPOSITION TO
                  PLAINTIFFS’ MOTION TO RECONSIDER THE COURT’S
                     OPINION & ORDER DATED SEPTEMBER 6, 2023

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                                   PRELIMINARY STATEMENT

        Defendants Pepsi-Cola Bottling Company of New York, Inc. (“PCNY”), Reginald Goins,

William W. Wilson, Harold Honickman, Jeffrey Honickman, Joseph Klingler, Scott Allmers, and

Joseph Haynes (collectively “Defendants”) respectfully submit this memorandum of law in

opposition to Plaintiffs’ motion to reconsider the Court’s Opinion & Order dated September 6,

2023.

        On March 23, 2023, the operative Third Amended Complaint (“TAC”) in this matter was

filed by Plaintiffs, a group of 27 current and former beverage distributors who sold and distributed

beverages in exclusive territories pursuant to Distributor Agreements with PCNY.1 (See ECF No.

92.) Plaintiffs allege, on a putative class and collective basis, that the distributors and their

corporate entities who entered into contractual agreements with PCNY were unlawfully classified

as independent contractors, and instead should be reclassified as employees who are entitled to

minimum wage, overtime, spread of hours pay, and other employment-based benefits under the

Fair Labor Standards Act (“FLSA”), New York Labor Law (“NYLL”), and other New York

statutory and common law.

        Seventeen Named Plaintiffs operate(d) pursuant to Distributor Agreements with PCNY

that took effect prior to January 4, 2021 (the “Prior Agreements”), which each include an

arbitration clause requiring that “[a]ny and all disputes or disagreements between the Company

and the Distributor concerning the interpretation of application of the provisions of this




1
 Plaintiffs’ Third Amended Complaint asserts claims on behalf of 28 Named Plaintiffs, including Donna Magnussen
as the Executor of the Estate of Richard Magnussen. On February 15, 2023, Ms. Magnussen filed a Notice of
Voluntary Dismissal pursuant to F.R.C.P. 41(a)(1)(A)(i). (ECF. No. 86.) On April 23, 2023, the Court entered an
order dismissing Ms. Magnussen’s claims. (ECF No. 96.) Accordingly, there are currently 27 Named Plaintiffs.



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Agreement, shall be determined in arbitration.”2 (See ECF No. 99-2, July 28, 1984 Agreement at

Paragraph Eighth.) The remaining eleven Named Plaintiffs operate(d) pursuant to Distributor

Agreements with PCNY that became effective January 4, 2021 (the “Current Agreements”). The

Current Agreements each include a clause stating that “[a]ny dispute or claim . . . arising out of,

or, in connection with this Agreement or the relationship of the parties . . . shall, upon written

request of either party, be resolved by arbitration as provided herein.” (See ECF No. 99-4, Ex. 19,

¶ 23.1.) This includes, but is “not limited to,” disputes concerning the Agreement’s “terms and

interpretation thereof,” and “statutory and common law claims arising under federal, New York

State and New York City laws pertaining, but not limited to, . . . wage and hour requirements

(including, but not limited to, misclassification claims).” (Id.)

         Pursuant to both Agreements’ arbitration clauses, Defendants filed two motions to compel

arbitration (one applicable to the Plaintiffs operating under the Prior Agreements, and one

applicable to the Plaintiffs operating under the Current Agreements) on September 16, 2022 (ECF

Nos. 64 and 67). On November 28, 2022, Plaintiffs opposed both motions (ECF Nos. 74 and 75)

arguing, inter alia, that the scope of the Prior Agreement’s arbitration clause “is narrow and

excludes a misclassification case.” (Pls’ Opp. to Motion to Compel, ECF No. 74, at 24.) On

December 12, 2022, Defendants filed replies in support of both motions to compel (ECF Nos. 80

and 81), countering Plaintiffs’ argument and asserting that, because Plaintiffs’ misclassification

claim “involves the ‘interpretation of application’ of a provision of the Distributor Agreement, i.e.,

the independent contractor clause, the dispute must be resolved by arbitration.” (Defs’ Reply in

Support of Motion to Compel, ECF No. 81, at 15.)



2
  This clause is identical across the Prior Agreements, with the exception of the phrase “interpretation of application,”
which in some Agreements reads “interpretation or application.” The Court has “interpret[ed] both of these phrases
to have the same meaning.” Sept. 6, 2023 Opinion & Order at 10, n.5 (ECF No. 97).


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        On September 6, 2023, this Court granted Defendants’ motions to compel arbitration,

expressly rejecting Plaintiffs’ argument regarding the scope of the arbitration clause. In its

Opinion & Order, the Court held that “[t]he language of the arbitration provisions in both the Prior

Agreements and the Current Agreements is quite broad,” and “includes the dispute at issue in this

litigation.” (Opinion & Order, ECF No. 97, at 10.)

        Plaintiffs now move for reconsideration, claiming the Court “overlooked” sections of the

Distributor Agreements that Plaintiffs assert “would prevent Plaintiffs from vindicating their

substantive rights under the FLSA and NYLL in arbitration.” (Pls’ Motion for Reconsideration,

ECF No. 99, at 6.) Specifically, Plaintiffs argue that they cannot prevail on their misclassification

claim or obtain all available damages under the FLSA and NYLL via arbitration because the

Distributor Agreement: (i) both classifies distributors as independent contractors and prohibits the

arbitrator from amending the terms of the Agreement, “pre-determining” the outcome, and (ii)

prohibits the arbitrator from awarding “special, incidental or consequential damages (including,

but not limited to, loss of profits)” and requires Plaintiffs to bear all expenses associated with their

work. (Pls’ Motion for Reconsideration, ECF No. 99, at 6-8.) Because Plaintiffs’ first argument

was raised and rejected in the prior briefing on Defendants’ motions to compel arbitration, and

their second argument could have been asserted then but was not, Plaintiffs’ motion for

reconsideration must be denied.

                                            ARGUMENT

        A MOTION FOR RECONSIDERATION WHICH, AS HERE, MERELY
        REPEATS OLD ARGUMENTS THAT WERE PREVIOUSLY REJECTED,
        OR RAISES NEW ARGUMENTS THAT COULD HAVE BEEN RAISED
        PREVIOUSLY BUT WERE NOT, MUST BE DENIED

        “The standard governing motions for reconsideration under S.D.N.Y. Local Civil Rule 6.3

‘is strict, and reconsideration will generally be denied unless the moving party can point to



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controlling decisions or data that the court overlooked—matters, in other words, that might

reasonably be expected to alter the conclusion reached by the court.’” City of Austin Police Ret.

Sys. v. Kinross Gold Corp., 957 F. Supp. 2d 277, 311 (S.D.N.Y. 2013) (quoting Shrader v. CSX

Transp. Inc., 70 F.3d 255, 257 (2d Cir. 1995)). A motion for reconsideration “is not a vehicle for

relitigating old issues, presenting the case under new theories, securing a rehearing on the merits,

or otherwise taking a second bite at the apple.” S.E.C. v. Collector’s Coffee Inc., 464 F. Supp. 3d

665, 667 (S.D.N.Y. 2020) (quoting Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36,

52 (2d Cir. 2012)). “The Second Circuit has held that ‘[a] motion for reconsideration should be

granted only when the [moving party] identifies an intervening change of controlling law, the

availability of new evidence, or the need to correct a clear error or prevent manifest injustice.’”

Id. (quoting Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d 99, 104

(2d Cir. 2013)). Plaintiffs have made no such showing here.

       Courts in this district have consistently held that a motion for reconsideration “is ‘neither

an occasion for repeating old arguments previously rejected nor an opportunity for making new

arguments that could have previously been made.’” City of Austin Police Ret. Sys., 957 F. Supp.

2d at 312 (citation omitted). As this Court has held, “[m]ere disagreement with this Court’s

interpretation and analysis of the facts pled is not an appropriate ground for reconsideration.”

Elgalad v. N.Y.C. Dep’t of Educ., No. 17-CV-4849 (VSB), 2019 WL 4805699, at *4 (S.D.N.Y.

Sept. 30, 2019). Where, as here, “the motion ‘merely offers substantially the same arguments . . .

offered on the original motion or attempts to advance new facts, the motion for reconsideration

must be denied.’” Walsh v. Townsquare Media, Inc., 565 F. Supp. 3d 400, 402 (S.D.N.Y. 2021).




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           1.     Plaintiffs’ Argument That The Distributor Agreement “Pre-Determine[s]”
                  The Outcome Of The Arbitration Was Previously Raised And Rejected, And
                  Therefore Cannot Form The Basis Of A Motion For Reconsideration

           Plaintiffs argue that their motion for reconsideration should be granted because the Court

“overlooked” applicable provisions of the Distributor Agreement which “pre-determin[e] that

Plaintiffs are ‘independent contractors’ and not ‘employees,’ and contractually prohibit[] an

arbitrator from modifying that provision,” leaving Plaintiffs “unable to vindicate their rights under

the FLSA and NYLL.” (Pls’ Motion for Reconsideration, ECF No. 99, at 7.) This argument,

however, was raised by Plaintiffs in their previous briefing, and expressly rejected by this Court.

           In their opposition to Defendants’ motion to compel arbitration under the Prior

Agreements, Plaintiffs raised the same argument they are attempting to assert now, in arguing that

the Prior Agreements’ arbitration clause did not encompass misclassification claims. Plaintiffs

argued:

           In this case, the Agreement states, “the Distributor in his or its relation to the
           Company shall at all times be an independent agent and neither the Distributor nor
           his or its employees shall under any circumstances be deemed to be an employee
           of the company.” ECF No. 66-1 to 21; Defts’ Ex. 1-21. It also states, “in no event
           shall the arbitrator have power to alter or amend the terms of this agreement.” Id.
           In a misclassification case, the arbitrator must decide whether Plaintiffs are, in fact,
           “employees.” Deciding they are employees would violate the prohibition against
           changing terms of the Agreement. There is no way to reconcile that inconsistency
           unless the arbitration clause excludes misclassification claims.

(Pls’ Opp. to Motion to Compel, ECF No. 74, at 28-29.)

           In their reply in support of their motion to compel, Defendants refuted this argument,

stating:

           While Plaintiffs correctly note that the arbitrator cannot change the terms of the
           parties’ Agreement, they fail to acknowledge that determining whether the
           independent contractor provision set forth in Paragraph 17 of the parties’
           Distributor Agreement “applies” to Plaintiffs is precisely what the arbitration
           provision contemplates. Because Plaintiffs’ misclassification claim involves the
           “interpretation of application” of a provision of the Distributor Agreement, i.e., the
           independent contractor clause, the dispute must be resolved by arbitration.


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(Defs’ Reply in Support of Motion to Compel, ECF No. 81, at 10-11.)

         Far from “overlooking” Plaintiffs’ prior argument regarding the scope of the arbitration

clause, this Court expressly “disagree[d]” with it, holding that “[t]he language of the arbitration

provisions in both the Prior Agreements and the Current Agreements is quite broad,” and “includes

the [misclassification] dispute at issue in this litigation.”3 (Opinion & Order, ECF No. 97, at 9-

10.) Where, as here, the Court has already considered and rejected an argument, “[m]ere

disagreement with this Court’s interpretation and analysis of the facts pled is not an appropriate

ground for reconsideration.” Elgalad, 2019 WL 4805669, at *4 (holding “[a] Rule 6.3 motion ‘is

not a motion to reargue those issues already considered when a party does not like the way the

original motion was resolved”) (citation omitted). See also City of Austin Police Ret. Sys., 957 F.

Supp. 2d at 315 (“There is no basis for the Court to reconsider its conclusion, where defendants

merely take issue with the Court’s ruling.”); Associated Press v. Dep’t of Defense, 395 F. Supp.

2d 17, 19 (S.D.N.Y. 2005) (denying motion for reconsideration because “[t]he Court did not

overlook this argument; it rejected it”).

         A motion for reconsideration “is not designed to allow wasteful repetition of arguments

already briefed, considered and decided.” Anwar v. Fairfield Greenwich Ltd., 800 F. Supp. 2d

571, 573 (S.D.N.Y. 2011) (citation omitted). Thus, as this Court previously held in a similar case,

“[b]ecause [Plaintiffs] offer substantially the same argument[] they have argued in the past and on

which [the Court has] already issued decisions, the arguments presented in their motion for


3
  The Current Agreement includes language comparable to that quoted above from the Prior Agreement, classifying
Plaintiffs as independent contractors and prohibiting the arbitrator from amending the Agreement. (See Motion for
Reconsideration, ECF No. 99, at 7-8.) While Plaintiffs did not expressly raise the scope of the arbitration clause in its
previous briefing regarding the Current Agreement, the Court ruled that the arbitration clauses of both the Prior
Agreement and the Current Agreement encompass Plaintiffs’ misclassification claim, rendering this an issue that has
already been considered and decided, and therefore inappropriate for reconsideration. (Opinion & Order, ECF No.
97, at 9-10.) In the alternative, the scope of the Current Agreement’s arbitration clause is an issue Plaintiffs could
have raised in their previous briefing but chose not to, rendering it equally improper on a motion for reconsideration.
See Section 2, infra.


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reconsideration are . . . improper and warrant denial of the motion.” EMA Financial LLC v. Joey

New York Inc., No. 17-CV-9706 (VSB), 2022 WL 4611949, at *3 (S.D.N.Y. Sept. 30, 2022)

(holding movants “may not have a second bite at the apple in a thinly veiled attempt to relitigate

an issue that [the Court previously] resolved”).

         2.       Plaintiffs Cannot Raise In A Motion For Reconsideration Arguments They
                  Could Have Asserted In Prior Briefing But Chose Not To

         Plaintiffs further argue that they cannot fully vindicate their statutory rights under the

FLSA and NYLL via arbitration because the Current Agreement “require[es] the Plaintiffs to bear

all expenses associated with their work,” and prohibits the arbitrator from awarding “special,

incidental or consequential damages (including, but not limited to, loss of profits).” (Pls’ Motion

for Reconsideration, ECF No. 99, at 8.) Even if it were accurate that these provisions prohibit

Plaintiffs from fully vindicating their statutory rights,4 because Plaintiffs failed to raise this

argument in their prior briefing, they cannot assert this claim on a motion for reconsideration.

         “[A] party is ‘barred from making for the first time in a motion for reconsideration an

argument it could readily have raised when the underlying issue was being briefed but chose not

to do so.’” Collector’s Coffee Inc., 464 F. Supp. 3d at 668 (citation omitted). “In other words, ‘‘a

party may not advance new facts, issues or arguments not previously presented to the Court’ on a

motion for reconsideration.’” Id. (citation omitted). This is because “the purpose of Local Rule




4
  As with their previous argument regarding the independent contractor provision, Plaintiffs appear to misunderstand
the scope of the arbitration clause and the corresponding role of the arbitrator. The Current Agreement expressly
states that the arbitration clause applies to federal and New York statutory claims regarding “wage and hour
requirements (including, but not limited to, misclassification claims).” (ECF No. 99-4, Ex. 19, ¶ 23.1.) While, as
with the Prior Agreement, “[t]he arbitrator shall not have the authority to alter, modify or amend the terms of this
Agreement,” (id.), it is well within the scope of the arbitrator’s duties to determine whether various provisions of the
Current Agreement apply to Plaintiffs. Should the arbitrator determine that Plaintiffs were, in fact, misclassified,
clearly the provision of the Current Agreement designating them as independent contractors would not apply.
Presumably, the arbitrator would similarly deem any contractual provisions that violate the wage and hour provisions
of the FLSA or NYLL inapplicable if Plaintiffs were found to be employees, and Plaintiffs would be fully capable of
vindicating their statutory rights.


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6.3 is to ‘ensure the finality of decisions and to prevent the practice of a losing party examining a

decision and then plugging the gaps of a lost motion with additional matters.’” Naiman v. N.Y.U.

Hosp. Ctr., No. 95 Civ. 6469 (RPP), 2005 WL 926904, at *1 (S.D.N.Y. Apr. 21, 2005) (citation

omitted). Accordingly, courts in this district have consistently held that arguments that were “not

before the Court on the initial motion . . . cannot provide the basis for a motion for reconsideration.”

Id. at *3. See also City of Austin Police Ret. Sys., 957 F. Supp. 2d at 315 (holding that, “[b]ecause

defendants could have raised this argument in moving to dismiss but did not do so, they may not

do so” on motion for reconsideration, and such argument is “waived”).

        Plaintiffs’ argument regarding the remedies available under the Current Agreement does

not rely on new evidence, and could therefore have been asserted in Plaintiffs’ previous briefing.

Because Plaintiffs “chose not to do so,” they are “barred” from raising this argument in their

motion for reconsideration. Collector’s Coffee Inc., 464 F. Supp. 3d at 668 (citation omitted). See

also Cho v. Blackberry Ltd., 991 F.3d 155, 170 (2d Cir. 2021) (holding motion for reconsideration

was properly denied when it was based on evidence that “was readily available at the time of the

earlier briefing” but not submitted at that time); Associated Press, 395 F. Supp. 2d at 20 (finding

“improperly mak[ing] a new argument” in a motion for reconsideration constitutes “clear waiver”).

Accordingly, because Plaintiffs’ motion for reconsideration is based on arguments they could have

raised in previous briefing, but failed to do so, such motion must be denied.

                                          CONCLUSION

        Plaintiffs’ motion for reconsideration is improperly based on: (i) an argument that Plaintiffs

raised, and the Court rejected, in the previous briefing in this matter, and (ii) an argument Plaintiffs

could have raised in their previous briefing, but chose not to. Because neither type of argument

can support a motion for reconsideration, and Plaintiffs failed to produce any new evidence or




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change in controlling law that would justify reconsideration, Defendants respectfully request that

Plaintiffs’ motion for reconsideration be denied.



Dated: Newark, New Jersey                           EPSTEIN BECKER & GREEN, P.C.
       October 2, 2023
                                                    By: /s/ Patrick G. Brady
                                                        Patrick G. Brady

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